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                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

                                    ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                    COURT MINUTES - CRIMINAL
                                                                BEFORE: TONY N. LEUNG
                       Plaintiff,                               U.S. MAGISTRATE JUDGE
v.
                                                    Case No:             21-cr-108 (1) PAM/TNL
DEREK MICHAEL CHAUVIN (1),                          Date:                September 14, 2021
                                                    Courthouse:         Minneapolis
                       Defendant.                   Courtroom:           Video Conference
                                                    Court Reporter:       Maria Weinbeck
                                                    Time Commenced: 10:14 AM
                                                    Time Concluded:      10:16 AM
                                                    Sealed Hearing Time: --
                                                    Time in Court:       2 Minutes

APPEARANCES:

       Plaintiff:    Manda Sertich, Samantha Trepel, Assistant U.S. Attorneys
       Defendant:    Eric J. Nelson, ☐ FPD ☒ CJA ☐ Retained ☐ Appointed



     ☒ Reading of Indictment Waived
     ☐ Indictment Read into Record
     ☒ Not Guilty Plea Entered



Other Remarks:

☒ No additional order to be issued.
☒ Defendant consents to this hearing via video conference.

                                                                                       s/ Holly M.
                                                                                      Courtroom Deputy
